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 6

 7

 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      HAROUT AKOPIAN, individually                 Case No. 12-cv-08679-BRO-RZx
11    and on behalf of other persons
      similarly situated,                          ORDER OF DISMISSAL OF ACTION
12                                                 WITHOUT PREJUDICE
                          Plaintiff,
13
                   vs.                             Assigned to the Honorable
14                                                 Beverly Reid O’Connell
      VW CREDIT, INC., a Delaware
15    corporation; and DOES 1 through 10.
16                        Defendants.
17

18

19                              [PROPOSED] ORDER OF DISMISSAL
20

21          Based on the Stipulation of the parties and for good cause shown, the Court
22    hereby dismisses the above-captioned action in its entirety, without prejudice. Each
23    party shall bear his/its own costs and fees. The Clerk shall close this file.
      IT IS SO ORDERED.
24
      Dated: November 20, 2013
25

26
                                        By:
                                              HON. BEVERLY REID O’CONNELL
27                                            United States District Court Judge
28

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              ORDER OF DISMISSAL OF ACTION WITHOUT PREJUDICE – Case No. 12-cv-08679-BRO-RZx
